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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   IRA KLEIMAN, as the personal
   representative of the Estate of David
   Kleiman, and W&K Info Defense Research,
   LLC
                                                          Case No. 9:18-cv-80176-BB/BR
                       Plaintiffs,

              vs.

   CRAIG WRIGHT

                       Defendant.


           W&K’S EXPEDITED MOTION FOR EXTENSION OF TIME TO FILE
                            MOTION FOR FEES

         Judgment-Creditor/Plaintiff W&K Info Defense Research, LLC requests the Court extend

  by two weeks the deadline under Local Rule 7.3(b) to file its motion for fees.

             1. On March 15, 2024, the Court held Judgment-Debtor Wright in civil contempt for

  his non-compliance with the Court’s compulsion order and ordered an award of attorneys’ fees.

  ECF No. 1077. Under Local Rule 7.3, the current deadline for W&K to file its motion for fees is

  today, May 14, 2024.

             2. On April 16, 2024, pursuant to Local Rule 7.3, W&K served Wright’s counsel with

  a draft motion for fees and asked for availability to meet and confer.

             3. On May 1, 2024, Judgment-Debtor Wright served specific objections to the time

  entries attached to W&K’s draft fee motion.

             4. On May 7, counsel for W&K asked for Wright’s availability to meet and confer,

  but subsequently fell ill and was unable to do so.
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             5. W&K requests that the Court extend this deadline by two weeks, to May 28, 2024,

  to facilitate a meaningful meet and confer process in advance of filing the motion. Because the

  current deadline is today, W&K respectfully requests a ruling on this motion as soon as possible.

             6. Earlier today, counsel for W&K reached out to counsel for Wright, hoping to reach

  an agreement and avoid this motion. Counsel for Wright responded at 4:44 PM that he opposes

  this motion.

         For the reasons stated above, W&K therefore respectfully request that the Court extend the

  deadline to file its fee motion by two weeks, to May 28, 2024.

                               S.D. FLA. L.R. 7.1 CERTIFICATION

         Pursuant to S.D. Fla. L.R. 7.1(a)(3), counsel for the movant has conferred with all parties

  or non-parties who may be affected by the relief sought in the motion in a good faith effort to

  resolve the issues raised in the motion and has been unable to resolve the issues.


   Dated: May 14, 2024                          Respectfully submitted,

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                                     Counsel to Plaintiffs Ira Kleiman as
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                                     Research, LLC.




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